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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

 

x
In re Terrorist Attacks on September 11, 2001 MDL 1570
x
KATHLEEN ASHTON, et al.,
02 CV 6977 (RCC)
Plaintiffs,
V. Kreindler & Kreindler LLP
AL QAEDA ISLAMIC ARMY, et al., Fifth Amended Consolidated
Master Complaint
Defendants. (Adding Plaintiffs)
Xx

 

The following plaintiffs are added to the Fifth Amended Complaint:

CHRISTY FERER, as Personal Representative
of the Estate of Neil Levin, Deceased
and on behalf of all survivors of Neil Levin

JULIO CESAR FERNANDEZ, as Personal Representative
of the Estate of Julio Fernandez, Deceased
and on behalf of all survivors of Julio Fernandez

CAROL LAIJETA, as Administrator
of the Estate of Vincent A. Laieta, Deceased
and on behalf of all survivors of Vincent A. Laieta

JUAN MARTINEZ, as Personal Representative
of the Estate of Waleska Martinez, Deceased
and on behalf of all survivors of Waleska Martinez

LAURIE WEINBERG, as Administratrix
of the Estate of Steven Weinberg, Deceased
and on behalf of all survivors of Steven Weinberg;*

SUSAN WOHLFORTH, as Executor
of the Estate of Martin Wohlforth, Deceased
and on behalf of all survivors of Martin Wohlforth

Danny Ray Johnson
Frank Maisano

*Co-counsel Soberman & Rosenberg
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x
ARLENE BEYER, et al. MDL 1570
02 CV 6978 (RCC)
Plaintiffs, Kreindler & Kreindler LLP
Vv. Barasch McGarry Salzman
Penson & Lim
AL QAEDA ISLAMIC ARMY, ef al., Fifth Amended Consolidated
Master Complaint
Defendants. (Adding Plaintiffs)
x

Joseph Accetta; Alamo Agustino; Stanley Andrusyczyn
Thomas Asher; Candiace Baker; Christopher Barrett
John Belford; Joseph Bertolino; Donald Bigi

Richard J. Bittles; Peter Brunaes; James Bruno
Richard Bylicki; Nelson Caban; Gary Cali

William Chesney; Gerald Chiavelli; Bundy Chung
William T. Collins; James Connolly; John Coombs
Richard Coyne; Chris Craven; Peter Curcio

Frank Curnyn; Alan Dagistino; Philip Dagostino
Nicholas DeMasi; Raymond Denninger; Dominick Devito
John Devlin; Robert DiGiovanni; Andrew DiGiugno
John Dixon; Thomas J. Doherty; Francis Donahue
Richard DuBowy; Brian Duffy; Joseph Dunn

George Edgeworth; William Edwards; William Ellis
Steven Fedorczuk; Manuel Fernandez; Edward Ferraro
Michael Fitzmaurice; George Foris; Nicholas Fornario
Gregory Forsyth; Michael Fossati; James Freer

John Fullam; Dennis Gallagher; Robert Gallagher
Anne Garcia; Rafael Garcia; Rudolph Geiger

Bruce Gerrie; Garry Giannandrea; Guerino Giannattanasio
Thomas Gillam; Philip Guarnieri; Leakat Hanif
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Donald Hoffman; James Hurson; Salvatore J. Isabella
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Mark Mastros; Garry Maurice; Christopher McCormack
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Richard Miranda; John Miskanic; Elizardo Montes

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Michael Musto; Paul Nigro; Joseph O’Brien

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SHERI G. BURLINGAME, et al., MDL 1570

02 CV 7230(RCC)

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Speiser, Krause, Nolan &

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AL QAEDA ISLAMIC ARMY, et al., Fifth Amended Consolidated

Master Complaint

Defendants. (Adding Plaintiffs)

 

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JAMES McCAFFREY and AGNES McCAFFREY,
Individually

KEVIN WARD, Individually,

 

VIRGINIA BAUER, et al.,

AL QAEDA ISLAMIC ARMY, et al.,

Defendants.

 

MARY SMITH, Individually and as Administratrix
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Dated: September 10, 2004
New York, New York

MDL 1570

02 CV 7236(RCC)
Baumeister & Samuels PC
Fifth Amended Consolidated

Master Complaint
(Adding Plaintiffs)

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03 MDL 1570 SERVICE LIST

In re: Terrorist Attack on September 11, 2001, 03 MD 1570 (Judge Richard Casey),
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Ashton, et al. v. Al Qaeda, et al.

 

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Burnett, et al. v. Al Baraka Investment and
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03 MDL 1570 SERVICE LIST (9/10/2004)

 
Case 1:03-md-01570-GBD-SN Document 447 Filed 09/20/04 Page 14 of 27

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Ashton, et al. v. Al Qaeda, et al.

 

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Estate of John P. O’ Neill, Sr., et al v. Kingdom of
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03 MDL 1570 SERVICE LIST (9/10/2004)

 
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03 MDL 1570 SERVICE LIST (9/10/2004)

 
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03 MDL 1570 SERVICE LIST

In re: Terrorist Attack on September 11, 2001, 03 MD 1570 (Judge Richard Casey),
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